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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

JACQUELINE BALTI                                                                    PLAINTIFF

v.                                   No. 3:16-cv-00323-JM

TAYLOR LAW PLLC;
and MELISSA MARQUEZ                                                             DEFENDANTS

                                            ORDER

       On January 22, 2020, the Court directed that some action must be taken in this case within

the next thirty (30) days, or this case would be dismissed for failure to prosecute. No action has

taken place. This action is therefore dismissed without prejudice.

       IT IS SO ORDERED this 17th day of March, 2020.



                                                    ________________________________
                                                    JAMES M. MOODY JR.
                                                    UNITED STATES DISTRICT JUDGE
